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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No.:_______________________


  BROWARD COUNTY,

          Plaintiff,

  v.

  ISLAND CLUB ONE, INC.,

        Defendant.
  __________________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, Broward County, sues Defendant, Island Club One, Inc., and alleges as follows:

                                             Nature of Action

          1.      This is a civil action brought by Broward County pursuant to the Fair Housing Act,

  as amended, 42 U.S.C. § 3601 et seq., and the Broward County Human Rights Act, Section

  16½ et seq., Broward County Code of Ordinances, against Island Club One, Inc., due to its

  violations of the above specified provisions by unlawfully discriminating against Keith Tonks and

  Matthew Condon on the basis of disability.

                                         Jurisdiction and Venue

          2.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 42 U.S.C.

  § 3612, and 28 U.S.C. § 1367.

          3.      Venue is proper in this District under 28 U.S.C. § 1391(b), in that Island Club

  resides, and the events giving rise to this action occurred, in this judicial district.

          4.      All conditions precedent to the filing of this action have been satisfied.
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                                                Parties

         5.      Plaintiff, Broward County, is a political subdivision of the state of Florida and a

  home rule charter county. The Broward County Human Rights Section (“the Section”) is an

  agency of Broward County. The Section, through Broward County, has the authority to investigate

  complaints of discrimination brought under the Broward County Human Rights Act and, as a Fair

  Housing Assistance Program certified by the United States Department of Housing and Urban

  Development (“HUD”), any complaint of housing discrimination brought under the Fair Housing

  Act, 42 U.S.C. § 3601, et seq.

         6.      The Section, through Broward County, also has the authority to seek appropriate

  damages and injunctive or other equitable relief in a court of competent jurisdiction pursuant to

  the Fair Housing Act, 42 U.S.C. §§ 3613, 3616 and 24 C.F.R §§ 115.204-205.

         7.      Defendant, Island Club One, Inc. (“Island Club”), is a Florida not-for-profit

  corporation responsible for administering and governing its condominium complex pursuant to the

  documents establishing such corporation. Island Club also screens potential residents by way of

  interviews and background checks. The Island Club board members that participate in an

  applicant’s interview are responsible for making the final decision to approve or deny the

  applicant. Island Club’s principal place of business is at 777 South Federal Highway, 3rd Floor,

  Building F, Pompano Beach, Florida 33062.

         8.      The condominium units at Island Club are dwellings within the meaning of the Fair

  Housing Act, 42 U.S.C. § 3602(b), and Subsection 16½-3(u) of the Human Rights Act, and as such

  are subject to the anti-discrimination requirements thereof.




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                                         General Allegations

         9.      Mr. Condon owns Unit H302 (the “Unit”) within the Island Club dwelling complex

  located at 777 South Federal Highway, Pompano Beach, Florida 33062.

         10.     Mr. Tonks, as a recovering alcoholic, suffers from a handicap that substantially

  limits one or more of his major life activities. 1 At times throughout his addiction, he was unable

  to keep a steady job, maintain a home or family, or take care of himself. During his recovery, he

  has had difficulties maintaining stable housing as a result of his disability. Not only is there a

  record of Mr. Tonks’ impairment as a recovering alcoholic, but Mr. Tonks has also been regarded

  as a recovering alcoholic by various individuals and medical professionals.

         11.     Mr. Tonks’ addiction is a chronic illness that will never be cured but from which

  he is nonetheless recovering. Mr. Tonks’ addiction recovery is a long-term problem, requiring

  permanent diligence to maintain his sobriety and avoid the constant cravings and accompanying

  dangers associated with his disability. Therefore, Mr. Tonks belongs to a class of persons protected

  from unlawful housing discrimination by the Fair Housing Act and the Human Rights Act.

         12.     In early 2016, Mr. Condon informed Elizabeth Papa, the president of Island Club

  at all times material, that he had found a tenant, Mr. Tonks, to lease the Unit. Mr. Condon

  described Mr. Tonks to Ms. Papa as a friend that he had met in an alcoholics’ anonymous program.

  Mr. Condon further conveyed to Ms. Papa that Mr. Tonks was looking to move out of a halfway

  house, where he was living at the time.




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      Throughout the remainder of the Complaint, Mr. Tonks’ condition will be referred to as a
  disability.
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          13.     In response, Ms. Papa expressed her discontent to Mr. Condon, explaining that she

  had previously experienced issues with troublemaking individuals, like Mr. Tonks. Nonetheless,

  Ms. Papa told Mr. Condon to have Mr. Tonks submit an application to lease the Unit.

          14.     In March 2016, Mr. Tonks submitted a rental application to Island Club. As a

  component thereof, Island Club required Mr. Tonks to undergo a background screening conducted

  by Renters Reference of Florida, an independent investigative agency.

          15.     Upon completing the background screening, Renters Reference of Florida

  forwarded Mr. Tonks’ background screening report to Island Club. In the residential verification

  section of Mr. Tonks’ background screening report, Mr. Tonks’ prior residence was listed as the

  New Beginnings Clean Living Sober House, specifically noting that “the applicant admitted

  himself into this facility for an alcohol addiction. He has been under their living care for sobriety

  since [July] 2014.”

          16.     On April 14, 2016, Island Club denied Mr. Tonks’ rental application.

          17.     To no avail, Mr. Tonks and Mr. Condon made multiple attempts to seek

  clarification on the basis of Island Club’s denial of Mr. Tonks’ rental application.

          18.     Upon returning from vacation, Mr. Condon approached James Malecki, the vice

  president of Island Club at all times material, in a final attempt to seek clarification on the basis of

  Island Club’s denial of Mr. Tonks’ rental application. Prior to any discussion, Mr. Malecki

  directed Mr. Condon to Andrew B. Black, Esq., counsel for Island Club at all times material, if the

  purpose of Mr. Condon’s inquiry pertained to the “halfway house guy.”

          19.     Mr. Tonks and Mr. Condon had previously executed a one-year, renewable

  residential lease that was scheduled to begin on May 5, 2016. As an express stipulation thereto,

  drug, alcohol, or tobacco use by Mr. Tonks was immediate grounds for eviction.



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           20.    Because Mr. Tonks had already paid Mr. Condon for first and last months’ rent, as

  well as an equivalent security deposit, he proceeded to occupy the Unit.

           21.    Subsequently, Ms. Papa became aware that Mr. Tonks was residing in the Unit and

  told Mr. Tonks that he was not supposed to be there.

           22.    As of result of Island Club denying his rental application and threatening his

  eviction from the Unit, Mr. Tonks was forced to move back into the New Beginnings Clean Living

  Sober House.

           23.    After receiving Mr. Tonks’ complaint on August 11, 2016, later amended on

  November 2, 2017, to include Mr. Condon as an aggrieved party, the Section investigated the

  allegations of housing discrimination and found reasonable cause to believe that Island Club had

  engaged in a discriminatory housing practice by denying housing to a member of a protected class

  that was qualified, willing, and able to lease the Unit.

           24.    Specifically, the Section found that Island Club was both aware of Mr. Tonks’

  disability and had previously approved similar situated applicants, outside of Mr. Tonks’ protected

  class, to reside within its dwelling complex.

           25.    Conciliation efforts between the parties was attempted on February 6, 2018, and

  later failed that same day.

           26.    On April 5, 2018, Island Club exercised its right to elect to have this dispute

  resolved in a court of competent jurisdiction, instead of before the Broward County Human Rights

  Board.

                       Count I – Violation of 42 U.S.C. Subsection 3604(f)(1)

           27.    The Section re-alleges and incorporates by reference paragraphs 1 through 26 as if

  fully set forth herein.



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         28.     Island Club denied Mr. Tonks’ rental application because of his disability.

         29.     At all times material, Island Club was aware of Mr. Tonks’ disability.

         30.     At all times material, Island Club regarded Mr. Tonks as disabled because of the

  constant cravings and accompanying dangers associated with his disability.

         31.     At all times material, Ms. Papa and Don Harris, another board member of Island

  Club, participated in applicant interviews on behalf of Island Club.

         32.     Island Club did not interview Mr. Tonks.

         33.     At all times material, Island Club did not require applicants to have a minimum

  credit score in order to be approved for residency.

         34.     At all times material, Island Club was in possession of the executed lease between

  Mr. Tonks and Mr. Condon.

         35.     Island Club, through its conduct and actions described above, violated 42 U.S.C.

  Subsections 3604(f)(1) by refusing to allow Mr. Tonks to lease the Unit due to his disability.

         36.     As a result of the conduct and actions of Island Club, Mr. Tonks and Mr. Condon

  have suffered damages and are aggrieved persons within the meaning of 42 U.S.C. Subsection

  3602(i).

         37.     The discriminatory conduct or actions of Island Club were intentional, willful,

  and/or taken in disregard for the rights of Mr. Tonks and Mr. Condon.

         WHEREFORE, the County, respectfully requests that this Court enter an order that:

         (a)     Declares that the discriminatory housing practices of Island Club, as set forth

  above, violate the Fair Housing Act;

         (b)     Awards to Mr. Tonks such damages as would fully compensate him for any injuries

  caused by Island Club’s denial of housing because of his disability, including but not limited to



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  out-of-pocket expenses or losses and compensatory damages such as mental distress, humiliation,

  embarrassment, and emotional distress;

            (c)   Awards to Mr. Condon such damages as would fully compensate him for any

  injuries caused by Island Club’s refusal to allow him to offer housing to Mr. Tonks because of Mr.

  Tonks’ disability, including but not limited to out-of-pocket expenses or losses and compensatory

  damages such as mental distress, humiliation, embarrassment, and emotional distress.

            (d)   Awards the County its reasonable attorney’s fees and costs incurred in bringing this

  action;

            (e)   Assesses a civil penalty against Island Club in the amount authorized in 42 U.S.C

  § 3612(g)(3) and 42 U.S.C. § 3614(d)(1)(C) of the Fair Housing Act, in order to vindicate the

  public interest; and

            (f)   Grants such other relief as justice may require.

                         Count II – Violation of 42 U.S.C. Subsection 3604(f)(2)

            38.   The Section re-alleges and incorporates by reference paragraphs 1 through 26 as if

  fully set forth herein.

            39.   Island Club denied Mr. Tonks’ rental application because of his disability.

            40.   At all times material, Island Club was aware of Mr. Tonks’ disability.

            41.   At all times material, Island Club was aware of Mr. Tonks’ disability.

            42.   At all times material, Island Club regarded Mr. Tonks as disabled because of the

  constant cravings and accompanying dangers associated with his disability.

            43.   At all times material, Ms. Papa and Mr. Harris participated in applicant interviews

  on behalf of Island Club.

            44.   Island Club did not interview Mr. Tonks.



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          45.    At all times material, Island Club did not require applicants to have a minimum

  credit score in order to be approved for residency.

          46.    At all times material, Island Club was in possession of the executed lease between

  Mr. Tonks and Mr. Condon.

          47.    Island Club did not permit Mr. Condon to rent his dwelling to Mr. Tonks.

          48.    Island Club, through its conduct and actions described above, violated 42 U.S.C. §

  3604(f)(2) by refusing to allow Mr. Condon to lease the Unit to Mr. Tonks due to Mr. Tonks’

  disability.

          49.    As a result of the conduct and actions of Island Club, Mr. Tonks and Mr. Condon

  have suffered damages and are aggrieved persons within the meaning of 42 U.S.C. § 3602(i).

          50.    The discriminatory conduct or actions of Island Club were intentional, willful,

  and/or taken in disregard for the rights of Mr. Tonks and Mr. Condon.

          WHEREFORE, the County, respectfully requests that this Court enter an order that:

          (a)    Declares that the discriminatory housing practices of Island Club, as set forth

  above, violate the Fair Housing Act;

          (b)    Awards to Mr. Tonks such damages as would fully compensate him for any injuries

  caused by Island Club’s denial of housing because of his disability, including but not limited to

  out-of-pocket expenses or losses and compensatory damages such as mental distress, humiliation,

  embarrassment, and emotional distress;

          (c)    Awards to Mr. Condon such damages as would fully compensate him for any

  injuries caused by Island Club’s refusal to allow him to offer housing to Mr. Tonks because of Mr.

  Tonks’ disability, including but not limited to out-of-pocket expenses or losses and compensatory

  damages such as mental distress, humiliation, embarrassment, and emotional distress.



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            (d)   Awards the County its reasonable attorney’s fees and costs incurred in bringing this

  action;

            (e)   Assesses a civil penalty against Pasadena Gardens in the amount authorized in

  42 U.S.C § 3612(g)(3) and 42 U.S.C. § 3614(d)(1)(C) of the Fair Housing Act, in order to vindicate

  the public interest; and

            (f)   Grants such other relief as justice may require.

                  Count III – Violation of Subsection 16½-35(f) of the Human Rights Act

            51.   The Section re-alleges and incorporates by reference paragraphs 1 through 26 as if

  fully set forth herein.

            52.   Island Club denied Mr. Tonks’ rental application because of his disability.

            53.   At all times material, Island Club was aware of Mr. Tonks’ disability.

            54.   At all times material, Island Club regarded Mr. Tonks as disabled because of the

  constant cravings and accompanying dangers associated with his disability.

            55.   At all times material, Ms. Papa and Mr. Harris participated in applicant interviews

  on behalf of Island Club.

            56.   Island Club did not interview Mr. Tonks.

            57.   At all times material, Island Club did not require applicants to have a minimum

  credit score in order to be approved for residency.

            58.   At all times material, Island Club was in possession of the executed lease between

  Mr. Tonks and Mr. Condon.

            59.   Island Club, through its conduct and actions described above, violated Subsection

  16½-35(f) of the Human Rights Act by refusing to allow Mr. Tonks to lease the Unit due to his

  disability.

            60.   As a result of the conduct and actions of Island Club, Mr. Tonks and Mr. Condon

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   have suffered damages and are aggrieved persons within the meaning of Subsection 16½-3(b) of

   the Human Rights Act.

             61.    The discriminatory conduct or actions of Island Club were intentional, willful,

   and/or taken in disregard for the rights of Mr. Tonks and Mr. Condon.

             WHEREFORE, the County respectfully requests that this Court enter an order that:

             (a)    Declares that the discriminatory housing practices of Island Club, as set forth

   above, violate the Human Rights Act;

             (b)    Awards to Mr. Tonks such damages as would fully compensate him for any injuries

   caused by Island Club’s denial of housing because of his disability;

             (c)    Awards to Mr. Condon such damages as would fully compensate him for any

   injuries caused by Island Club’s refusal to allow him to offer housing to Mr. Tonks because of Mr.

   Tonks’ disability.

             (d)    Awards the County its reasonable attorney’s fees and costs incurred in bringing this

   action;

             (e)    Assesses a civil penalty against Island Club in the amount authorized in Subsection

   16½-50(c) of the Broward County Human Rights Act, in order to vindicate the public interest; and

             (f)    Grants such other relief as justice may require.

                   Count IV – Violation of Subsection 16½-35(g) of the Human Rights Act

             62.    The Section re-alleges and incorporates by reference paragraphs 1 through 25 as if

   fully set forth herein.

             63.    Island Club denied Mr. Tonks’ rental application because of his disability.

             64.    At all times material, Island Club was aware of Mr. Tonks’ disability.

             65.    At all times material, Island Club regarded Mr. Tonks as disabled because of the

   constant cravings and accompanying dangers associated with his disability.

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          66.     At all times material, Ms. Papa and Don Harris, another board member of Island

   Club, participated in applicant interviews on behalf of Island Club.

          67.     Island Club did not interview Mr. Tonks.

          68.     At all times material, Island Club did not require applicants to have a minimum

   credit score in order to be approved for residency.

          69.     At all times material, Island Club was in possession of the executed lease between

   Mr. Tonks and Mr. Condon.

          70.     Island Club did not permit Mr. Condon to rent his dwelling to Mr. Tonks.

          71.     Island Club, through its conduct and actions described above, violated Subsection

   16½-35(g) of the Human Rights Act by refusing to allow Mr. Condon to lease the Unit to Mr.

   Tonks due to Mr. Tonks’ disability.

          72.     As a result of the conduct and actions of Island Club, Mr. Tonks and Mr. Condon

   have suffered damages and are aggrieved persons within the meaning of Subsection 16½-3(b) of

   the Human Rights Act.

          73.     The discriminatory conduct or actions of Island Club were intentional, willful,

   and/or taken in disregard for the rights of Mr. Tonks and Mr. Condon.

          WHEREFORE, the County respectfully requests that this Court enter an order that:

          (a)     Declares that the discriminatory housing practices of Island Club, as set forth

   above, violate the Human Rights Act;

          (b)     Awards to Mr. Tonks such damages as would fully compensate him for any injuries

   caused by Island Club’s denial of housing because of his disability;




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             (c)    Awards to Mr. Condon such damages as would fully compensate him for any

   injuries caused by Island Club’s refusal to allow him to offer housing to Mr. Tonks because of Mr.

   Tonks’ disability.

             (d)    Awards the County its reasonable attorney’s fees and costs incurred in bringing this

   action;

             (e)    Assesses a civil penalty against Island Club in the amount authorized in Subsection

   16½-50(c) of the Broward County Human Rights Act, in order to vindicate the public interest; and

             (f)    Grants such other relief as justice may require.

                                                 Jury Demand

             Pursuant to Fed. R. Civ. P. 38, Plaintiff, the County, hereby demands trial by jury on all

   issues.

   Dated: April 25, 2018.



                                                   Respectfully submitted;

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